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      In the United States Court of Appeals
              for the Third Circuit
     CASE NO. 22-2675, 22-2676, 22-2677, 22-2678, 22-2679, 22-2680


  APEX CONSTRUCTION CO. INC., BLUEWATER CONSTRUCTION,
INC., MSI BUILDING SUPPLIES INC., UNITED CORPORATION, IMPEX
  TRADING INTERNATIONAL INC., B&B MANUFACTURING INC.,
                          Appellants,

                                      v.

                  UNITED STATES VIRGIN ISLANDS,
                             Appellee.


  ON APPEAL FROM AN ORDER DATED AUGUST 18TH, 2022 OF THE
UNITED STATES DISTRICT COURT OF THE VIRGIN ISLANDS DIVISION
 OF ST. THOMAS AND ST. JOHN AT DOCKET NO. 3:21-CV-0039, 3:21-CV-
0040, 3:21-CV-0041, 3:21-CV-0043, 3:21-CV-0044, 3:21-CV-0052, GRANTING
                  APPELLEE’S MOTIONS TO DISMISS


                         BRIEF OF APPELLEE



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                        JURISDICTIONAL STATEMENT

      This consolidated appeal arises out of Apex Construction Co. Inc. v. the

United States Virgin Islands, Bluewater Construction Inc. v. the United States Virgin

Islands, MSI Building Supplies Inc. v. the United States Virgin Islands, United

Corporation v. the United States Virgin Islands, Impex Trading International Inc. v.

the United States Virgin Islands, and B&B Manufacturing Inc. v. the United States

Virgin Islands, 3:21-CV-0039, -0040, -0041, -0043, -0044, -0052, respectively

(collectively, “In re: Excise Tax Litigation”), filed in the District Court of the Virgin

Islands. Each case asserts a claim pursuant to the dormant Commerce Clause of the

U.S. Constitution. The District Court had subject matter jurisdiction over this matter

pursuant to 48 U.S.C. § 1612(a) (1954) and 28 U.S.C. 1331 (1948). The Third

Circuit Court of Appeals has jurisdiction over this appeal pursuant to 28 U.S.C. §

1291 (1948) because this is an appeal of a final judgment in a civil case. The final

order in In re: Excise Tax Litigation was entered on August 18, 2022, and all notices

of appeal were timely filed on September 8, 2022, pursuant to Fed. R. App. P.

4(a)(1)(B).




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                    STATEMENT OF ISSUES PRESENTED

  I.   Whether the District Court erred as a matter of law or abused its discretion in

       applying tax comity to the United States Virgin Islands and dismissing

       Appellants’ claims.

 II.   Whether the District Court erred as a matter of law in denying Appellants’

       request to apply offensive non-mutual collateral estoppel against the United

       States Virgin Islands.



          STATEMENT OF RELATED CASES OR PROCEEDINGS

       Pursuant to Local Appellate Rule (“L.A.R.”) 28(b), the Appellee responds that

this matter has not been before this Court previously. Appellee, United States Virgin

Islands (“USVI”), is unaware of any other cases related to this matter.



                          STATEMENT OF THE CASE

       Each Appellant in this consolidated appeal is a merchant of some sort. Apdx-

032. Each claims to have imported items unconstitutionally taxed under the USVI’s

excise tax, and each demands that the merits of their claims be adjudicated in federal

court rather than those of the Virgin Islands. Appellants’ Brief (“App. Br.”) at 13,

34. The USVI successfully argued in the District Court that the judicially developed

doctrine of tax comity should be applied to allow local courts to administer local tax

law. SAppx-093-105. Relying on both vertical and horizontal stare decisis, the court

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held that, under the circumstances, tax comity should be applied to dismiss

Appellants’ local tax claims without prejudice. Apdx-018-027 (citing American

Resort Dev. Ass’n v. Gov’t of the V.I., 848 Fed. Appx 79 (3d Cir. 2021); Z & R Cab,

LLC v. Philadelphia Parking Auth. 616 F. App’x 527 (3d Cir. 2015); and Great Bay

Condo. Owners Ass’n v. Gov’t of the V.I., 2018 U.S. Dist. LEXIS 167921 (D.V.I.

2018)).

       Appellants have failed to identify any legal error or abuse of discretion

warranting reversal of that decision. Instead, they argue that the District Court has

exclusive authority over all local tax disputes. App. Br. at 17. Appellants also argue

that because the District Court previously heard a “test case” challenging the same

local tax, it is bound to hear all such similar suits. Id. at 18-19. They then attempt to

create a tax comity exception for their claims and argue that the Virgin Islands court

system is incapable of guaranteeing an adequate remedy. Id. at 19-34. Lastly,

Appellants insist that a non-precedential decision be given offensive non-mutual

preclusive effect as to both the merits of their claims and the appropriate form of

relief. Id. at 35-37.

       Appellants’ arguments ring hollow.         The District Court does not have

exclusive jurisdiction over all local tax disputes, nor is it foreclosed from applying

tax comity where the relevant factors counsel in favor of abstention.              Here,

Appellants’ claims fall squarely within the tax comity doctrine. Congress has not

entered the field of local excise taxation, and Appellants have a plain, adequate, and

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complete remedy available to them in Virgin Islands courts. Moreover, application

of offensive non-mutual collateral estoppel here would be wholly inappropriate.

Appellants’ claims must stand on their own facts. Ungar v. Sarafite, 376 U.S. 575

(1964); Baltimore & O.R. Co. v. Shaw, 35 F.2d 410 (3d Cir. 1929); Kates v.

Commissioner, 1962 Tax Ct. Memo LEXIS 52 (U.S. Tax Ct. 1962).

      As held by the District Court, Virgin Islands courts are better positioned to

adjudicate Appellants claims and provide a plain, adequate, and complete remedy if

appropriate. Appellants demand to have their claims adjudicated in federal court,

but they have no such entitlement. The District Court was within both its authority

and discretion to reject Appellants’ arguments and dismiss their cases on tax comity

grounds. Having failed to carry their burden on appeal, this Court should reject

Appellants’ unavailing arguments and affirm the District Court’s decision.



                        STATEMENT OF THE FACTS

      A. Relevant Facts

USVI’s taxing authority

      In 1916, the United States of America acquired the West-Indian island chain

now known as the USVI. 48 U.S.C. § 1541, et. seq. In 1936, Congress enacted the

Organic Act of the Virgin Islands, thereby creating the Government of the Virgin

Islands and empowering it to govern the unincorporated territory. Id. In 1954,

Congress revised the Organic Act to provide the USVI with the legislative authority

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and power to impose local taxes not inconsistent with the laws of the United States.

48 U.S.C. § 1574. In 1984, Congress further amended the Revised Organic Act to

restructure the relationship between federal and local courts to mirror that between

federal and state courts. 48 U.S.C. § 1611, et. seq.; see also Edwards v. HOVENSA,

LLC, 497 F.3d 355, 360 (3d Cir. 2007) (holding that 48 U.S.C. § 1613 mandates that

the relations between federal and USVI courts should mirror the relations between

federal and state courts).



USVI’s local excise tax

      In 1959, the Legislature of the Virgin Islands imposed a local excise tax on

certain items brought into the territory. 33 V.I.C. § 42 (“Section 42”). A similar tax

was not imposed on local producers of the same items. Id. In 1980, Congress passed

Public Law 96-205, providing “[a]ny excise taxes levied by the Legislature of the

Virgin Islands may be levied and collected as the Legislature of the Virgin Islands

may direct as soon as the articles, goods, merchandise, and commodities subject to

said tax are brought into the Virgin Islands.” Pub. L. No. 96-205, 94 Stat. 84 (March

12, 1980).

      In 1981, JDS Realty Corporation, a local importer, challenged Section 42’s

constitutionality. JDS Realty Corp. v. Gov’t of the Virgin Islands, 593 F. Supp. 199,

205 (D.V.I. 1984). The District Court found “Section 42, by its terms, impose[d] a

tax upon items ‘brought into the Virgin Islands,’ while exempting similar, or even

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identical, items produced within the Territory. Thus, while denominated an ‘excise’

tax, § 42 functionally constitute[d] a tax on imports, both foreign and domestic.” Id.

at 205.     The court concluded Public Law 96-205 did not authorize such

discrimination and held “that the ‘excise’ tax codified at 33 V.I.C. § 42

impermissibly infringe[d] upon the plenary authority of Congress to regulate

interstate and foreign commerce in violation of the Commerce and Import/Export

Clauses of the United States Constitution.” Id. at 205-07. “However, the District

Court denied damages because it concluded that JDS had passed the burden of the

excise taxes on to its customers.” JDS Realty Corp. v. Gov’t of the Virgin Islands,

852 F.2d 66, 67 (3d Cir. 1988).

      The District Court’s ruling in JDS was initially affirmed by the Third Circuit,

but it was ultimately vacated and dismissed as moot since no relief was possible. Id.

(citing Government of the Virgin Islands v. JDS Realty Corp., 484 U.S. 999 (1988)).

Nevertheless, in the wake of JDS, the Virgin Islands’ Legislature amended Section

42 to cure its constitutional infirmity. 33 V.I.C. § 42, as amended (1984). Section

42’s new language applied the USVI’s excise tax equally to importers and local

producers alike. Id. But, as would later be determined, the law was not always

implemented or enforced consistent with the dictates of the Commerce Clause.

Reefco Servs. v. Gov’t of the Virgin Islands, 2018 U.S. Dist. LEXIS 167922, * 13-

18 (D.V.I. 2018) (“Reefco I”).



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      In 2014, Reefco Services, Inc., a small marine refrigeration business, filed suit

in District Court, challenging its excise tax assessment and claiming that Section

42’s special marine exemption applied to its imported refrigerators. Id. at * 13-18.

The USVI argued for tax comity, but the District Court did not address it. Apdx-027,

n.8. Instead, the court found that local manufacturers had not been assessed excise

taxes under Section 42 and awarded Reefco Services, Inc. a refund of $5,287.74.

Reefco I, 2018 U.S. Dist. LEXIS 167922 at * 13-18.

      After the decision in Reefco I, the District Court issued an order prospectively

enjoining the USVI from collecting any future excise taxes under Section 42 until it

was prepared to do so in a manner fully consistent with the Commerce Clause.

Reefco Servs., Inc. v. Gov’t of the Virgin Islands, 2018 U.S. Dist. LEXIS 199507, *

26-29 (D.V.I. 2018). Ultimately, this Court affirmed the holding in Reefco I, but it

remanded to District Court with instructions to lift the injunction upon receipt of

evidence that the USVI had begun assessing the excise tax on local manufacturers.

Reefco Servs. v. Gov’t of the V.I., 830 F. App’x 81, 84-87 (3d Cir. 2020) (“Reefco

II”). Once it was determined that the USVI was doing just that, the injunction was

lifted. Reefco Servs. v. Gov’t of the V.I., 2021 U.S. Dist. LEXIS 56301 (D.V.I. 2021).



Appellants to the consolidated appeal

      There are six Appellants to the consolidated appeal. Two are construction

companies operating in the USVI. Apdx-032 (R&R at 3, n. 2). Two operate building

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supply stores on St. Thomas. Id. One operates a grocery store on St. Croix, and the

last operates a retail merchandise store on St. Thomas. Id. Each claims to have been

unconstitutionally assessed excise taxes under Section 42, and each claims to have

filed a Form 843 Claim for Refund with the Virgin Islands Bureau of Internal

Revenue (“VIBIR”) that was neither paid nor disallowed. Apdx-086-152. Upon

completion of Reefco II, each Appellant filed a complaint in federal court premised

on the holding of Reefco II, seeking a judgment against the USVI, a tax refund,

reasonable attorneys’ fees and costs, and both pre-judgment and post-judgment

interest. Apdx-086-152. As to the refund, Appellants seek $1,510,292.00 in total.

App. Br. at 4, n. 1. In their brief to this Court, Appellants readily admit to having

deliberately taken a “wait and see” approach in relation to the Reefco litigation,

rather than joining in when they had the chance. App. Br. at 18.



      B. Procedural History

      Each Appellant to this consolidated appeal filed a complaint in the District

Court of the Virgin Islands sometime between May 3 and June 18, 2021. Apdx-086-

152. The USVI moved to dismiss each complaint, generally challenging subject

matter jurisdiction and the sufficiency of Appellants’ pleadings. The USVI also

argued that tax comity doctrine should be applied so that Virgin Islands courts could

adjudicate Appellants’ local excise tax claims. SApdx-001-013; Apdx-016.

Appellants responded, and the USVI replied. SApdx-014-056. On November 18,

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2021, the District Court consolidated the pending motions to dismiss and referred

them to the Magistrate Judge for a Report and Recommendation (“R&R”). See,

Apdx-064.


      The Magistrate Judge held an evidentiary hearing on February 17, 2022.

Apdx-176-320. Four witnesses testified for the USVI, including: (1) Director of

Virgin Islands Office of Management and Budget (“OMB”) Jenifer O’Neal; (2)

VIBIR Director Joel Lee; (3) Commissioner of the Virgin Islands Department of

Finance (“DOF”) Bosede Bruce; and (4) Darien Wheatley, a Litigation Specialist III

within the Virgin Islands Department of Justice. Apdx-176-320. At the hearing, the

following facts were adduced:

   • The usual method for resolving valid claims for excise tax overpayments is

      issuance of a credit against future excise tax assessments. Apdx-246, -249, -

      253, -272.

   • VIBIR Director Joel Lee was unsure whether the VIBIR had ever authorized

      the payment of an excise tax refund. Apdx-257-58; see also Apdx-260 (“None

      to my knowledge”).

   • If Appellants were to prevail and the relief ordered were a refund rather than

      a credit, the Virgin Islands Legislature would have to pass a special

      appropriation to pay the judgment out of the USVI’s general fund. Apdx-228,

      -234.


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   • Legislation for special appropriations is prepared by the OMB, approved by

      the Governor, and sent to the Legislature’s Finance Committee for action.

      Apdx-220.

   • The Virgin Islands Legislature created a Budget Stabilization Fund in fiscal

      year 2020 that currently holds approximately $11 million. Apdx-221.

   • Monies from the Budget Stabilization Fund can be transferred into the general

      fund with the Legislature’s authorization. Apdx-236.

   • The Virgin Islands Department of Finance processes, approves, and disburses

      all correct invoices within ten days. Apdx-283-84.

   • Since May of 2021, the Director of Finance has not had to delay payment of

      any invoice due to unavailability of cash. Apdx-281-82.

   • If required to pay the excise tax refunds sought by Appellants, the USVI

      would be financially able to make those payments. Apdx-222; SApdx-056.


      After post-hearing briefs were submitted, the Magistrate Judge issued her

R&R on March 10, 2022, recommending denial of USVI’s motions to dismiss.

Apdx-030-049; SApdx-057-092. The Magistrate Judge found the District Court had

subject matter jurisdiction and that Appellants had sufficiently pled their dormant

Commerce Clause claims. Apdx-030-049. Concerning tax comity, the Magistrate

Judge acknowledged that its application to the USVI was not barred and that

horizontal stare decisis was both favorable to the USVI and persuasive. Apdx-042-


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045 (citing, generally, American Resort, 848 Fed. Appx 79 and Great Bay, 2018

U.S. Dist. LEXIS 167921). Nevertheless, the Magistrate Judge declined to apply tax

comity to Appellants’ cases out of an abundance of caution. Apdx-042-045 (citing

American Resort, 848 F. App’x at 81) (declining to apply the Tax Injunction Act to

the USVI based on repeal of a federal statute).

      On March 24, 2022, the USVI timely filed objections to the R&R on the

grounds that the Magistrate Judge erred in her tax comity analysis. SApdx-094-099.

The USVI argued for the application of tax comity as outlined in Great Bay and cited

the factors in Z & R Cab as the proper test for determining whether the local remedy

was plain, adequate, and complete. SApdx-094-099. Further, the USVI argued

against assigning preclusive effect to the non-precedential decisions of Reefco.

SApdx-103. Rather than respond to the USVI’s objections, Appellants decided to

“stand on the evidence presented at the hearing in the matter [and] the briefs

submitted after the February 17, 2022, hearing.” SApdx-106-108 (citing “ECF 46 in

case 3:21-cv-052”).

      On August 18, 2022, the District Court issued its final order with an

accompanying Memorandum Opinion, dismissing the matter in its entirety, without

prejudice, so that Appellants could pursue their plain, adequate, and complete

remedies in the Superior Court of the Virgin Islands. Apdx-007-009; Apdx-013-029.

On September 8, 2022, each Appellant timely filed a Notice of Appeal with this

Court, challenging the District Court’s dismissal order. Apdx-001-006. To date,

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Appellants have not filed their local excise tax claims in the Superior Court of the

Virgin Islands.



                            STANDARD OF REVIEW

      The Third Circuit exercises plenary review over the District Court of the

Virgin Islands’ legal conclusions and reviews any challenges of the court’s factual

findings for clear error. United States v. Voigt, 89 F.3d 1050, 1067 (3d Cir. 1996).

The extension or denial of comity is reviewed for abuse of discretion. Lisowski v.

Walmart Stores, Inc., 2022 U.S. App. LEXIS 19569, at * 6 (3d Cir. 2022); see also

Grode v. Mutual Fire, Marine and Inland Ins. Co., 8 F.3d 953, 957 (3d Cir. 1993)

(“In reviewing the district court’s abstention, the underlying legal questions are

subject to plenary review, but the decision to abstain is reviewed for an abuse of

discretion.”) The non-application of issue preclusion is reviewed de novo.

McLaughlin v. Fisher, 277 Fed. Appx. 207, 213 (3d Cir. 2008).



                        SUMMARY OF THE ARGUMENT

      The tax comity doctrine applies to the USVI, and the dismissal of Appellants’

local excise tax claims without prejudice on comity grounds was reasonable. The

District Court did not err as a matter of law or abuse its discretion in so holding. To

the contrary, the District Court thoroughly reviewed the relevant tax comity

jurisprudence and provided a well-reasoned analysis as to the appropriate legal tests

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to apply. As interpreted by the District Court, this Circuit’s precedents allow for tax

comity to be applied to the USVI when (1) Congress has not entered the field of

taxation and plaintiffs are not seeking to enforce a federally created right, and (2)

Appellants have a plain, adequate, and complete remedy available in local courts.

Apdx-023. In determining the adequacy of Appellants’ remedy in Virgin Islands,

the court applied the four-factor test set forth in Levin v. Commerce Energy, Inc.,

560 U.S. 413 (2010). Apdx-025-027 (citing Z & R Cab, 616 F. App’x at 531, n. 8).

Finding both tests satisfied, the District Court reasonably exercised its discretion to

dismiss Appellants’ local excise tax claims on tax comity grounds. Apdx-023-027.

      Moreover, Appellants’ have failed to carry their burden on appeal. They argue

that tax comity doctrine does not apply to the USVI, and even if it does apply in

general, it should not have been applied to them. App. Br. at 16-34. As will be

shown though, Appellants have failed to identify any legal error or abuse of

discretion warranting reversal. While Appellants would prefer to litigate their local

excise tax claims in federal court, they have not shown that they are entitled to do so

under the circumstances. Therefore, this Court should affirm the challenged order

and deny Appellants’ appeal.

      Appellants can still have their day in the Superior Court of the Virgin Islands,

where they can raise their constitutional objections to the tax. See 4 V.I.C. § 76; 33

V.I.C. § 1692. If they are entitled to relief, the Superior Court can order the USVI

to issue credits or refunds as appropriate. If the Superior Court denies relief,

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Appellants can appeal to the Supreme Court of the Virgin Islands. See 4 V.I.C. § 32.

If Appellants are dissatisfied with that review, they can apply for certiorari to the

United States Supreme Court. See 28 U.S.C. § 1257. That is the appropriate

procedural mechanism for Appellants’ challenge. See Rosewell v. La Salle Nat’l

Bank, 450 U.S. 503, 514 (1981).

      Lastly, if this Court affirms the dismissal of Appellants’ claims on tax comity

grounds, then it need not reach their request to apply offensive non-mutual collateral

estoppel to bar the USVI from defending itself against their constitutional claims

based on the non-precedential decisions in Reefco I and II. If this Court does address

that issue, it should affirm the District Court’s decision that offensive non-mutual

collateral estoppel, in general, should not apply against the USVI. If this Court

determines that the doctrine could be asserted against the USVI in general, it should

still find Appellants’ request here wholly inappropriate under the circumstances.



                                   ARGUMENT

I.   The tax comity doctrine applies to the USVI, and the dismissal of
Appellants’ claims without prejudice on tax comity grounds was reasonable.

      The tax comity doctrine applies to the USVI and under the circumstances, it

was reasonable for the District Court to dismiss Appellants’ cases on tax comity

grounds. The court correctly arrived at that conclusion after thoroughly analyzing

the open question of tax comity’s application to the USVI and applying the

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appropriate legal tests. As interpreted by the District Court, this Circuit’s precedents

allow for tax comity to be applied to the USVI when (1) Congress has not entered

the field of taxation and plaintiffs are not seeking to enforce a federally created right,

and (2) Appellants have a plain, adequate, and complete remedy available in local

courts. Apdx-020-023. In determining whether Appellants remedy in Virgin Islands

courts is plain, adequate, and complete, the court applied the four-factor test set forth

in Levin, 560 U.S. 413. Apdx-025-027 (citing Z & R Cab, 616 F. App’x at 531, n.

8). Finding both tests satisfied, the court properly exercised its discretion to apply

tax comity. Apdx-023-027.        The District Court was within its authority and

discretion to dismiss Appellants’ cases on those grounds, and this Court should

affirm its decision on that basis.

      In addition, Appellants have failed to carry their burden on appeal. They

argue that tax comity doctrine does not apply to the USVI, and even if it does apply

in general, it should not have been applied to them. App. Br. at 16-34. As will be

shown though, Appellants have failed to identify any legal error or abuse of

discretion warranting reversal. While Appellants would prefer to litigate their local

excise tax claims in federal court, they have not shown that they are entitled to do so

under the circumstances. Therefore, this Court should affirm the District Court’s

decision and deny the instant appeal.




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      A. The District Court did not err or abuse its discretion in applying tax
         comity to the USVI and dismissing Appellants’ local excise tax
         claims.


      The District Court did not err as a matter of law or abuse its discretion in

dismissing Appellants’ local excise tax claims on tax comity grounds. This is not

even the first time the District Court has applied tax comity doctrine to the USVI.

In 2018, it properly analyzed the issue in Great Bay Condo. Owners Ass’n v. Gov’t

of the V.I. and determined that, under the appropriate circumstances, local tax claims

should be adjudicated in local courts. 2018 U.S. Dist. LEXIS 167921. Here, the

District Court was called upon to revisit the issue. After reviewing the relevant tax

comity jurisprudence, the District Court provided a well-reasoned analysis on the

doctrine and its appropriate application to the USVI.

      The District Court relied on and discussed the analysis in Great Bay. In Great

Bay, an association of Ritz-Carlton timeshare property owners challenged the

constitutionality of various USVI tax laws, including its “timeshare tax” and

“disparate tax schedule.” Id. at * 3-4. The association filed suit in District Court,

alleging, inter alia, that the laws violated the dormant Commerce Clause of the U.S.

Constitution. Id. The USVI moved to dismiss the complaint based on the Tax

Injunction Act (“TIA”). Id. at * 4. The court quickly disposed of that argument,

however. Id at * 9-14. Citing this Circuit’s decisions in Pan American World

Airways, Inc. v. Duly Authorized Government of the Virgin Islands, 459 F.2d 387

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(3d Cir. 1972) and Bluebeard’s Castle v. Government of the Virgin Islands, 321 F.3d

394 (3d Cir. 2003), the court correctly concluded that the TIA did not bar it from

exercising jurisdiction over local tax disputes. Great Bay, 2018 U.S. Dist. LEXIS

167921 at * 9-14. The analysis did not stop there though. Because the USVI had not

expressly waived tax comity, the court considered, sua sponte, whether principles of

comity and federalism applied. Id. at * 8-9.

      To answer that question, the court began by reviewing U.S. Supreme Court

precedent on tax comity doctrine generally. Id. at * 7-8 (discussing Levin., 560 U.S.

at 432; Fair Assessment in Real Estate Ass’n, Inc. v. McNary, 454 U.S. 100, 116

(1981); Great Lakes Dredge & Dock Co. v. Huffman, 319 U.S. 293, 297-302 (1943);

and Matthews v. Rodgers, 284 U.S. 521, 525-26 (1932)). The court correctly

concluded that the tax comity doctrine’s reach exceeded that of the TIA, so it would

need to look further at this Circuit’s jurisprudence before applying it to the USVI.

Great Bay, 2018 U.S. Dist. LEXIS 167921 at * 7-9.

      Consequently, the court’s analysis turned to this Circuit’s decision in

Bluebeard’s Castle. Id. at * 14. While the court understood that the Circuit chose

not to apply tax comity in that case, it reasoned that the decision hinged not on any

question of the sovereignty of the Virgin Islands to restrict Congress’s legislative

authority, but on the local character of the tax and the source from which that local

character derived. Id. The court construed Bluebeard’s Castle as holding that the


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question of tax comity in the Virgin Islands does not turn on whether the Court has

federal question jurisdiction but rather on whether Congress had entered the taxation

field. Id. at * 14-16, *23-24. Accordingly, it held that “after the 1984 amendments,

whenever Congress has entered the taxation field, comity or federalism-like

concerns do not apply.” Id.

      The court cited four grounds in support of its holding. Id. at * 24-30. First, it

found the holding was consistent with both Congress’s 1984 amendments to the

Revised Organic Act and this Circuit’s subsequent jurisprudence applying principles

of federalism and comity to the USVI. Id. at * 23-26 (citing Williams v. Gov’t of the

Virgin Islands Bd. Of Med. Examiners, 360 F. App’x 297, 301 (3d Cir. 2010)

(holding Younger abstention applies to the USVI); Kendall v. Russell, 572 F.3d 126,

130, n. 3 (3d Cir. 2009) (same); and Edwards, 497 F.3d at 360 (holding the Erie

doctrine and Rules of Decision Act apply to the District Court of the Virgin Islands)).

Second, the court found the holding “provided appropriate weight to Congressional

determinations” regarding particular fields of local taxation. Great Bay, 2018 U.S.

Dist. LEXIS 167921 at * 26. Third, it found the District Court of Guam had reached

a similar interpretation of Bluebeard’s Castle in Gov’t of Guam v. Camacho, 2006

U.S. Dist. LEXIS 44814 (D. Guam June 29, 2006). Great Bay, 2018 U.S. Dist.

LEXIS 167921 at * 26-29. Lastly, the court found the holding was congruent with

its holding in 35 Acres Assocs. v. Adams, 962 F. Supp. 687, 688-89 (D.V.I. 1997),

wherein the same “principles of comity and federalism underlying the [TIA]” were
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applied to dismiss a case that would have necessarily interfered with the USVI’s

administration of its tax code. Great Bay, 2018 U.S. Dist. LEXIS 167921 at * 26-

29.

      Accordingly, in Great Bay, the District Court held that “when plaintiffs file

suit seeking injunctive or declaratory relief or damages with respect to a local tax

imposed on them by the Virgin Islands Government, they may only proceed in

[federal court] if: (1) Congress has entered the field and the plaintiffs are seeking to

enforce such a federally created right, or (2) a plain, adequate, and complete remedy

is not available in the local courts.” Id. at * 30. Having determined this clear, well-

articulated test applied to the Great Bay plaintiffs’ tax claims, the court considered

whether tax comity should be applied under the circumstances presented. Id. at * 35-

57.

      With respect to the Great Bay plaintiff’s timeshare tax refund claims, the court

concluded that, while Congress had not entered the field of taxation at issue, the

remedy in local courts was inadequate. Id. at * 50. The court based its holding

largely on the USVI’s financial situation at the time. The court discounted the

possibility that a tax credit would provide meaningful relief because “[i]f the

timeshare fee was determined to be unconstitutional, providing a credit for future

timeshare fee payments would not a be an adequate remedy.” Id. at * 51. As a result

of the court’s concerns, it chose not to apply tax comity to those claims. But see, id.


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at * 36, n. 8 (“After considering the four factors identified in Levin, the Court is

satisfied that the tax comity doctrine still applies….”). Later, the court would

dismiss them on the merits. Kimberly Stonecipher-Fisher Revocable Living Trust v.

Gov’t of the V.I., 2020 U.S. Dist. LEXIS 61887, * 14-24 (D.V.I. 2020).

      Concerning the Great Bay plaintiff’s disparate tax schedule claims, however,

the court ultimately did decide that it was appropriate to apply tax comity to the

USVI. As it had with the timeshare tax, the District Court found Congress had not

entered the field of taxation at issue. But, because the relief sought for these claims

was injunctive and declaratory rather than monetary, the court focused its remedy

analysis on the ability of local courts to timely adjudicate cases. The court ultimately

found that plaintiffs had failed to carry their burden of adducing sufficient evidence

in support of their contention that the relief available through Virgin Islands courts

was inadequate. As a result, the court found it appropriate to apply tax comity and

dismiss those counts.

      On appeal, the USVI urged the Third Circuit to apply tax comity to plaintiffs’

timeshare tax claims. American Resort, 848 F. App’x at 81, n 3. But, because tax

comity was non-jurisdictional and the court had already decided to affirm dismissal

of those claims on the merits, it did not decide whether tax comity applies to the

USVI. Id. Importantly though, this Court did not identify any legal error in the

district court’s decision to dismiss plaintiffs’ disparate tax schedule claims on tax


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comity grounds. Thus, not only did the district court retain the discretion to apply

tax comity doctrine to the USVI under appropriate circumstances, but it also

obtained this Circuit’s tacit approval of the USVI’s tax comity test as articulated and

applied in Great Bay. Against this backdrop, the District Court’s decision in In re:

Excise Tax Litigation makes complete sense.

      In In re: Excise Tax Litigation, the District Court’s analysis tracked that of

Great Bay. It started by reviewing U.S. Supreme Court precedent and confirming

that the TIA and tax comity doctrine were not co-extensive. Apdx-019-021. It then

reviewed Bluebeard’s Castle and the Third Circuit’s approach when deciding

whether to apply principles of federalism to the USVI. Apdx-021. Agreeing with

the rationale expressed in Great Bay, the court interpreted Bluebeard’s Castle to

hold that “after the 1984 amendments, whenever Congress has entered the taxation

field, comity or federalism-like concerns do not apply.” Apdx-022.


      Upon this preliminary analysis, the court then considered whether Congress

had entered the field of local excise taxation. Apdx-022-023. It determined that,

unlike in Bluebeard’s Castle where Congress had instituted its own substantive

regulations on USVI property taxation, Congress had not imposed any such

regulation on USVI excise taxation. Apdx-022-023. Therefore, the court held tax

comity could be applied to the USVI “under appropriate circumstances.” Apdx-022-

023. Specifically, the court held that “[a plaintiff seeking injunctive or declaratory

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relief or damages with respect to a local tax imposed on them by the Government of

the Virgin Islands] may only proceed in [federal court] if: (1) Congress has entered

the field and the plaintiffs are seeking to enforce such a federally created right, or

(2) a plain, adequate, and complete remedy is not available in the local courts.”1

Apdx-022-023 (citing Great Bay, 2018 U.S. Dist. LEXIS at * 12).


      Applying this test to Appellants’ claims, the court first confirmed that USVI’s

local excise tax was, in fact, properly classified as a “tax” rather than a “fee.” Apdx-

023-024. The court considered this a threshold matter, citing this Circuit’s decision

in Robinson Protective Alarm Co. v. City of Phila., 581 F.2d 371, 376 (3d Cir. 1978)

(drawing a distinction between “taxes” and “fees” for purposes of applying the TIA

and its underlying principles of federalism and comity.). Apdx-023-024. The

District Court did not credit Appellants’ illusory argument that the relief sought was

only monetary, and therefore, tax comity should not apply. Apdx-025-027.

Appellants’ claims challenge the enforcement of a local tax in federal court and

clearly “risk disrupting [local] tax administration.” Apdx-027; see also Armstrong

v. Walborn, 745 Fed. Appx. 12, 13 (9th Cir. 2018) (“[A] federal court order requiring

a state to grant a tax refund is equivalent to an order preventing the collection of

taxes.”). Having already determined that Congress had not entered the field of USVI



1
 It is clear from the District Court’s opinion that, in this context, the term “damages”
encompasses all forms of monetary relief, including claims for refunds. Apdx-025-
027.
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excise taxation, the court turned to Appellants’ remedies in local courts. Apdx-025-

027.


       It is here where the court’s analysis diverges somewhat from that of the court

in Great Bay. Instead of grounding its decision on the USVI’s finances, the court

here more closely followed the test articulated by this Circuit in Z & R Cab, namely:


       [W]hether (1) the challenged law concerned ‘commercial matters over which’
       the state ‘enjoys wide regulatory latitude’; (2) the suit requires adjudicating
       ‘any fundamental right or classification’ to which heightened scrutiny applies;
       (3) the state courts are ‘better positioned than their federal counterparts to
       correct any violation’ and provide a remedy; and (4) more than one potential
       remedy could adequately redress the alleged constitutional defect.

Apdx-023-024 (citing Z & R Cab, 616 F. App’x at 531, n. 8 (citing Levin, 560 U.S.

at 431-32)).


       In objecting to the R&R, the USVI had argued that these factors and the

considerations undergirding other comity-based doctrines should guide the court’s

analysis. The court agreed and further found the decision in Z & R Cab particularly

notable as it directly contradicted Appellants’ claim that comity doctrine should not

be applied simply because a previous court had already held a tax was

unconstitutional.2 Id. at n. 7 (citing PSMT, LLC. v. the Government of the Virgin

Islands, et al., Case No. 3:19-cv-0118, ECF No. 45, at 5).


2
  In Z & R Cab, the Third Circuit instructed the District Court to consider applying
tax comity to plaintiff’s refund claims – even though the tax at issue had already
been declared unconstitutional and unenforceable. Id. (citing, generally, Z & R Cab,
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      Before applying the Z & R Cab test though, the court noted that Appellants’

briefing in response to USVI’s objections to the Magistrate’s R&R “did not directly

address whether there was a plain, adequate, and complete state remedy.” Apdx-026.

In contrast with the plaintiffs in Great Bay, Appellants did not engage in extensive

post-hearing discovery or even submit a meaningful response to the USVI’s

objections. See Great Bay, 2018 U.S. Dist. LEXIS at * 5. Instead, they merely

incorporated their arguments from the closing brief to the Magistrate Judge wherein

they contended only that the USVI was in dire financial conditions and would be

unable or unwilling to timely pay a refund absent federal involvement. SApdx-107.

The District Court considered these arguments, but Appellants’ failure to address the

Z & R Cab test contributed to the court being unconvinced “that a federal remedy

was any better suited for forcing refunds that one imposed by Virgin Islands courts.”

Apdx-026.

      Discussing each factor, the court first confirmed that “the excise tax concerns

commercial matters over which [the Virgin Islands] enjoys wide regulatory

latitude.” Apdx-026. Next, the court held that the suit did not require adjudicating

any fundamental right or classification to which heightened scrutiny applied,



616 F. App’x 527). Ultimately, as was done here, the district court in Z & R Cab
exercised its discretion to dismiss plaintiff’s tax refund claims on comity grounds. Z
& R Cab, LLC v. Philadelphia Parking Authority, 2015 U.S. Dist. LEXIS 189537,
* 3-9 (E.D. Pa. July 22, 2015) (citing Remington Rand Corp. Del. v. Bus. Sys. Inc.,
830 F.2d 1260, 1266 (3d Cir. 1987)).
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especially in light of Appellants’ insistence that the constitutionality of the statute

had already been adjudicated. Apdx-026. Finally, the court found that Virgin Islands

courts were better positioned to correct any violation because they were more

familiar with state legislative preferences. Apdx-026 (citing Levin, 560 U.S. at 431-

32). The fact that “the government [of the Virgin Islands] does not have legal

authority to obey the judgment without first going to the Legislature of the Virgin

Islands and requesting an appropriation” regardless of which court issued a refund,

weighed heavily in favor of applying comity. Apdx-026. In the end, the court

correctly found that “each of the Z & R Cab factors counsels in favor of abstaining

from hearing this case.” Apdx-027.

      Of note, the court was unclear as to how to apply the fourth Z & R Cab factor

because it incorrectly presumed that “there is a single adequate remedy that Virgin

Islands courts could fashion in this case, a refund to the aggrieved plaintiffs.” Apdx-

026-027. To the contrary, several potential remedies would adequately redress the

alleged constitutional defects, including a credit against future excise taxes,

retroactive assessment on competitors, or some combination of the various remedies.

SApdx-047-048. Unlike with the timeshare tax in Great Bay, a credit against future

excise tax payments would certainly redress Appellants’ claims. As the VIBIR

Director confirmed, such relief is typical in cases of excise tax overpayments. Apdx-

246. While Appellants may not prefer these alternative forms of relief, they failed

to argue or introduce any evidence that such remedies would be inadequate.
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Considering the availability of these alternative forms of relief, comity would

suggest that deference to the Virgin Islands’ adjudicative process is appropriate.

Thus, all four of the Z & R Cab factors favor comity.

      Upon this proper application of the tests articulated in Great Bay and Z & R

Cab, the court correctly concluded that tax comity should be applied to the USVI,

and it exercised its discretion to dismiss Appellants’ excise tax refund claims without

prejudice. The court’s decision does not deny Appellants the ultimate relief they

seek; it simply allows local courts to administer local law consistent with territorial

preferences. The District Court was not foreclosed from extending tax comity to the

USVI, and under the circumstances, the court was within its authority and discretion

to dismiss Appellants’ local excise tax claims on tax comity grounds. Appellants

have failed to identify any error or abuse of discretion sufficient to warrant reversal.

Therefore, this Court should affirm the District Court’s order and deny the instant

appeal.




      B. Appellants have failed to carry their burden on appeal.


      Appellants have not identified any legal error or abuse of discretion on which

to reverse the District Court’s dismissal order. Thus, they have failed to carry their

burden on appeal. Appellants first argue that the District Court is foreclosed from

applying tax comity to the USVI. According to Appellants, the District Court cannot
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apply principles of federalism without this Circuit’s prior explicit approval. But this

Circuit’s affirmance in both Williams, 360 F. App’x 297, and Kendall, 572 F.3d 126,

sanctioning the District Court’s proper application of Younger abstention doctrine to

the USVI directly contradicts that unsupported contention.

      Appellants also suggest that 48 U.S.C. § 1612(a) provides the District Court

with exclusive jurisdiction over not just income tax disputes but all local tax

disputes. App. Br. at 17 (citing Birdman v. Off. of the Governor, 677 F.3d 167, 177

(3d Cir. 2012)). This argument is being asserted for the first time on appeal,

therefore it should be deemed waived. See United States v. Rose, 538 F.3d 175, 179

(3d Cir. 2008) (“It is well-settled that arguments asserted for the first time on appeal

are deemed to be waived and consequently are not susceptible to review in this Court

absent exceptional circumstances.”). This argument is also incorrect. The plain

language of § 1612(a) clearly applies only to income tax disputes, and even then, it

is expressly limited to those income tax laws which are provisions of the Internal

Revenue Code. Birdman, 677 F.3d at 175-77. Further, 48 U.S.C. § 1612(b) clearly

limits the district court’s jurisdiction where local courts are vested with jurisdiction

by local law. Here, the Virgin Islands Legislature had vested jurisdiction over local

taxes disputes in the Superior Court of the Virgin Islands. 33 V.I.C. § 1691, et. seq.

      Appellants’ second argument claims, in the alternative, that if tax comity does

apply to the USVI in general, it should not have been applied here. Appellants

premise this argument on four assertions: (1) their cases must be treated like Reefco;

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(2) actions like theirs seeking only a tax refund do not invoke principles of comity;

(3) the Superior Court does not provide a plain, adequate, and complete remedy; and

(4) there is no guarantee of repayment.

      Concerning Appellants’ first assertion, that their cases must be treated like

Reefco, Appellants argue that “like cases should be decided alike.” App. Br. at 18

(citing Martin v. Franklin Capital Corp., 546 U.S. 132, 139 (2005)). However,

Appellants are not asking this Court to apply precedent here. They are asking this

Court to apply offensive non-mutual collateral estoppel against the USVI based on

the non-precedential decisions of Reefco I and II. App. Br. at 34-41. While those

cases may be treated as instructive, Appellants do not cite to any authority allowing

non-precedential decisions to have such preclusive effect. Further, Appellants

provide no analysis on which to base their conclusory statements.

      Appellants also attempt to portray their “wait and see” approach to Reefco as

reasonable. Even though they could have easily joined in Reefco I, Appellants

suggest they intended to “sav[e] the federal court system’s judicial resources by not

having to entertain additional cases.” App. Br. at 18. Of course, that makes no sense

given Appellants still planned to bring their own individual suits after Reefco had

concluded. More likely, Appellants allowed Reefco to proceed alone as their “test

case” in hopes of receiving a favorable decision that they could then use in an

offensive, non-mutual manner against the USVI. That appears to be exactly what

happened here, except unlike in Reefco where the issue of tax comity was not

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actually litigated, the District Court did address the USVI’s tax comity argument and

determined the doctrine should be applied under the circumstances. Appellants’

“wait and see” approach to Reefco should not be rewarded. See, Parklane Hosiery

Co. v. Shore, 439 U.S. 322, 331 (1979).

       Concerning Appellants’ second assertion, that actions like theirs seeking only

a tax refund do not invoke principles of comity, Appellants claim that they only seek

monetary relief, and as a result, “this case does not involve an attempt to impede the

collection of state/territorial taxes.” Appx. Br. at 19. Appellants then attempt to

distinguish their cases from those of Levin, 560 U.S. 413, Fair Assessment, 454 U.S.

100, Nat’l Private Truck Council, Inc. v. Okla. Tax Comm’n, 515 U.S. 582 (1995),

and Great Bay, 2018 U.S. Dist. LEXIS 167921, where the requested relief included

injunctive and declaratory relief. Appx. Br. at 19-24. However, Appellants fail to

apply Supreme Court precedent in determining when maintenance of a suit would

act to suspend collection of state taxes. See Fair Assessment, 454 U.S. at 113. In

Fair Assessment, the Court focused on two factors: (1) whether plaintiffs could

recover relief absent a determination that their constitutional rights were violated,

and (2) whether maintenance of the suit would intrude on the enforcement of the

state scheme by haling state tax collection officials into federal court to defend their

action. Id.

       Here, while Appellants claim to only seek a refund, their prayers for relief

contain a litany of requests, including a judgment in their favor, reasonable

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attorneys’ fees and costs, and both pre- and post-judgment interest. Apdx-086-152.

Like the plaintiff in Fair Assessment, Appellants cannot obtain relief absent a

determination that their constitutional rights were violated. Fair Assessment, 454

U.S. at 113. Moreover, maintenance of Appellants’ suit will necessarily intrude on

the enforcement of the USVI scheme, especially if the district court were called upon

to decide the appropriate remedy and have to choose among a refund, a credit, or

some other form of relief. Even if that were not the case, other courts have held “a

federal court order requiring a state to grant a tax refund is equivalent to an order

preventing the collection of taxes.” E.g. Armstrong, 745 Fed. Appx. at 13 (internal

citations omitted).

      Concerning Appellants’ third assertion, that the Superior Court does not

provide a plain, adequate, and complete remedy, Appellants portray a “grim state-of

affairs” in USVI courts. In support, they cite to unnamed Virgin Islands legal

practitioners and cherry-picked examples of lengthy Superior Court litigation. App.

Br. at 25-30. Appellants do not ground their claims in any parameters on which to

judge the length of time their claims would take to adjudicate in local court or

whether that time would be deficient. As such, this unsupported argument should be

rejected.

      Appellants also cite to the Virgin Islands Legislature’s amendment of 5 V.I.C.

§ 31, which provides for trial preferences in certain circumstances, as proof of local

court dysfunction, although they conveniently neglect to mention that § 31 mirrors

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similar statutes in the eminently functional court systems of New York, California,

Nevada, and Illinois. App. Br. at 25-30; New York Civil Practice Law and Rules

Rule 3404, California Code of Civil Procedure § 36; Nevada Revised Statutes

Annotated § 16.025; Illinois Revised Statutes Annotated 5/2-1007.1. Indeed,

Appellants intend § 31 to pull double duty for them, serving both as a symptom of

local court dysfunction and a roadblock to local courts’ proper functioning. Neither

of these entirely speculative arguments carry Appellants’ burden.

      Concerning Appellants’ fourth and final assertion, that there is no guarantee

of repayment, Appellants argue the USVI’s financial situation is “materially

unchanged (or worse)” since the District Court held the local refund remedy to be

inadequate in Great Bay. App. Br. at 30-34. But Appellants did not focus their

analysis on this Circuit’s precedent when evaluating local remedies. Appellants’

argument does not apply the Levin factors as articulated in Z & R Cab or even

address the District Court’s application of such factors. Consequently, Appellants

fail to address the availability of other plain, adequate, and complete local remedies,

such as a credit against future excise tax payments.

      Moreover, as argued by the USVI below, the financial circumstances of the

USVI are much improved since the decision in Great Bay. SApdx-048. The

Government continues to pay out income tax refunds owed. Id. (citing Exhibit 1,

VIBIR Director Lee Aff.). The Virgin Islands FY 2022 Budget includes a $5 million

dollar appropriation above the current budgetary demands. Id. “If required by law,

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the [USVI] will be in a financial position to pay refunds for the excise tax.” Id. The

evidence shows that the USVI’s financial situation as described in Great Bay is

outdated.

      Further, Appellants claim to have uncovered “new damning evidence” that

their local tax refund remedy would require a special appropriation of the Virgin

Islands Legislature. The District Court rejected that argument though after correctly

noting that whether a federal or a local court were to order a refund would have no

practical effect on that payment process. Appellants concede that “a judgment

requiring the payment of a tax refund issued by the [federal] court would look

exactly the same as one issued by the Superior Court.” App. Br. at 21. As the District

Court held, “[e]specially considering … that any refund will require a commensurate

appropriation from the Virgin Islands Legislature, Virgin Islands courts ‘are better

positioned to correct any violation because they are more familiar with state

legislative preferences.” Apdx-026 (citing Levin, 560 U.S. at 431-32).

      As shown, each of Appellants’ arguments are unavailing. Appellants have not

identified any legal error or abuse of discretion upon which to reverse the District

Court’s dismissal order. Thus, they have failed to carry their burden on appeal. If

this Court agrees with the District Court’s decision to dismiss Appellants’ cases on

tax comity grounds, it may affirm the court’s final order without determining

whether the court was also correct to hold that offensive non-mutual collateral

estoppel does not apply to the USVI. Alternatively, if this Court were to disagree

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with application of tax comity to Appellants’ cases, it should at least affirm the

District Court’s decision not to apply offensive non-mutual collateral estoppel to the

USVI, as more fully argued below.




II.    The District Court correctly rejected application of offensive non-mutual
collateral estoppel to the USVI.

      Appellants seek application of offensive non-mutual collateral estoppel

(“ONMCE”) to bar the USVI from raising the doctrine of tax comity or defending

itself against their constitutional claims based on the non-precedential opinions in

Reefco. The District Court was correct in denying those requests. Under the doctrine

of collateral estoppel, or issue preclusion, “once an issue is actually and necessarily

determined by a court of competent jurisdiction, that determination is conclusive in

subsequent suits based on a different cause of action involving a party to the prior

litigation.” Montana v. United States, 440 U.S. 147, 153 (1979). Its “offensive” use

occurs when a plaintiff seeks to bar a defendant from relitigating an issue the

defendant has previously litigated unsuccessfully in another action. United States v.

Mendoza, 464 U.S. 154, 159 (1984).

      In this Circuit, “[t]he prerequisites for the application of issue preclusion are

satisfied when: (1) the issue sought to be precluded is the same as that involved in

the prior action; (2) that issue [was] actually litigated; (3) it was determined by a


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final and valid judgment; and (4) the determination was essential to the prior

judgment.” Burlington N. R.R. v. Hyundai Merch. Marine Co., 63 F.3d 1227, 1231-

1232 (3d. Cir. 1995) (Internal brackets omitted). Even when these requirements are

met, courts must also consider “whether there are special circumstances present

which make it inequitable or inappropriate to foreclose relitigation of a previously

determined issue.” AMTRAK v. Pa. PUC, 288 F.3d 519, 528 (3d Cir. 2002) (citing

Restat 2d. of Judgments, § 28). For instance, when a plaintiff could easily have

joined the earlier action or the application of offensive estoppel would be unfair to a

defendant, offensive collateral estoppel should not be allowed. Parklane Hosiery

Co., 439 U.S. at 331; see also 18 CHARLES A. WRIGHT ET. AL., FEDERAL

PRACTICE AND PROCEDURE § 4425, at 253-54 (1981) (“Preclusion should not

apply if there has been either a change in the facts or the governing rules.”).

      The purpose of collateral estoppel is to “relieve parties of the cost and

vexation of multiple lawsuits, conserve judicial resources, and, by preventing

inconsistent decisions, encourage reliance on adjudication.” Mendoza, 464 U.S. at

158. In 1971, the U.S. Supreme Court broadened its application in furtherance of

those policies by abandoning mutuality of parties as a requirement for offensive

collateral estoppel. Blonder-Tongue Laboratories, Inc. v. University of Illinois

Foundation, 402 U.S. 313 (1971). But since then, ONMCE’s use against both

federal and state government has been greatly limited. Mendoza, 464 U.S. 154;

Hercules Carriers, Inc. v. Claimant State of Fla., 768 F.2d 1558 (11th Cir. 1985).
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But see, e.g., In re Stevenson, 615 Pa. 50, 68, n. 8 (Pa. 2012) (declining to extend

Mendoza in the absence of an express extension by the U.S. Supreme Court).

      In Mendoza, the Supreme Court reversed a Ninth Circuit decision affirming a

district court’s application of ONMCE where the federal government had chosen not

to appeal a prior adverse ruling on a constitutional due process issue. 464 U.S. at

162-163. The Supreme Court held that ONMCE should not be applied against the

government to preclude relitigation of certain issues because “[t]he conduct of

Government litigation in the courts of the United States is sufficiently different from

the conduct of private civil litigation in those courts so that what might otherwise be

economy interests underlying a broad application of collateral estoppel are

outweighed by the constraints which peculiarly affect the Government.” Id.

      Specifically, the Supreme Court outlined two major policy interests in

Mendoza. Benjamin v Coughlin, 905 F.2d 571, 576 (2d Cir. 1990). First, the Court

in Mendoza reasoned that “[u]nlike a private litigant who generally does not forgo

an appeal if he believes that he can prevail, the Solicitor General considers a variety

of factors, such as the limited resources of the Government and the crowded dockets

of the courts, before authorizing an appeal.” Mendoza, 464 U.S at 161. Applying

ONMCE to the government then “would force the Solicitor General to . . . appeal

every adverse decision in order to avoid foreclosing further review,” which would

be untenable. Id. Further, the court reasoned that “[i]n addition to those institutional


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concerns traditionally considered by the Solicitor General, the panoply of important

public issues raised in governmental litigation may quite properly lead successive

administrations of the Executive Branch to take differing positions with respect to

the resolution of a particular issue.” Id. Because premature estoppel would stymie

that process, ONMCE was disfavored. Id.

      When assessing the potential harm, the Court noted that private litigants in

disputes over private rights did not suffer a significant enough harm from enforcing

ONMCE where appropriate to justify burdened courts with repetitive litigation. Id.

at 159 (citing Montana, 440 U.S. 147). But the Court could not say the same for the

government, who it found “more likely than any private party to be involved in

lawsuits against different parties which nonetheless involve the same legal issues.”

Mendoza, 464 U.S. at 159-160. As such, the Court found the harm that would result

from allowing ONMCE against the government was significant enough to create a

near per se rule against it. Id. And even for cases outside of the near per se rule, the

Court counseled lower courts to “be careful when they seek to apply expanding rules

of collateral estoppel to Government litigation.” Id. at 161.

      While Mendoza involved a federal government litigant, the rationale of its

holding has been extended by numerous courts to create a similar rule for state

government litigants. See, Idaho Potato Comm’n v. G&T Terminal Packaging, Inc.,

425 F.3d 708, 714 (9th Cir. 2005); Hercules Carriers, Inc., 768 F.2d at 1578-79;


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Benjamin, 905 F.2d at 575-76 (applying ONMCE to state court proceedings only

after determining the policy interests in Mendoza were not implicated). But see, State

v. United Cook Inlet Drift Ass’n, 895 P.2d 947 (Alaska 1995) (ONMCE may be

applied to bar a State from relitigating mixed questions of law and fact but not

unmixed questions of law); In re Stevenson, 615 Pa. at 68, n. 8 (Pa. 2012) (declining

to extend Mendoza in the absence of an express extension by the U.S. Supreme

Court). “A state agency’s position as a litigant is sufficiently different from that a

of a private litigant such that the economy of interest underlying a broad application

of issue preclusion do not, as a general rule, justify the non-mutual offensive

application of the doctrine against the agency.” Gould v. Dep’t of Health & Soc.

Servs., 216 Wis. 2d 356, 369 (Ct. App. 1998).

      In considering the question of whether ONMCE applies to the USVI, the

District Court noted that the USVI’s legal status with respect to ONMCE was

ambiguous. Apdx-028. The court did not endeavor to resolve that ambiguity though

because the distinction made no difference. Apdx-028. Citing the Eleventh Circuit’s

ruling in Hercules Carriers, Inc., 768 F.2d at 1578-79, and the Supreme Court’s

ruling in Mendoza, 464 U.S at 164, the court held that “[r]egardless of [whether the

USVI’s legal status for purposes of ONMCE is that of a unified entity with the

federal government or a state], the doctrine should be barred.” Id.




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      Although the court did not provide its full analysis, that is of no moment here

because ONMCE’s application as requested by Appellants would have been

inappropriate in any event. However, to prevent any future litigant from arguing,

like Appellants have here, that the USVI failed – in its first and last opportunity – to

litigate this issue, we assert that: (1) this Court should treat the USVI as it would a

state for purposes of ONMCE, hold Mendoza applies to the USVI, and reject

ONMCE’s application here pursuant to Mendoza; (2) should this Court decide to

treat the USVI as a federal entity, it should reject ONMCE’s application here

pursuant to Mendoza; and (3) should this Court decide not to reject ONCME’s

application pursuant to Mendoza, it should still deny Appellants requests here

because the doctrine’s prerequisites have not been satisfied.




      A. This Court should treat the USVI as it would a State for purposes of
         ONMCE, hold Mendoza applies to the USVI, and reject ONMCE’s
         application here pursuant to Mendoza.

      This Court should treat the USVI as it would a State for purposes of ONMCE,

hold Mendoza applies to the USVI, and reject ONMCE’s application here pursuant

to Mendoza. The first of these actions is not unfamiliar to the Third Circuit. This

Circuit’s trend has been to treat the courts and litigants of the USVI as it would those

of a State when applying judicial doctrine. See, Williams, 360 F. App’x at 301;

Kendall, 572 F.3d at 103, n. 3; and Edwards, 497 F.3d at 360. Doing so with respect

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to ONMCE here would be consistent with this Circuit’s jurisprudence, Congress’s

1984 amendments to the Revised Organic Act, and the outcome advocated by the

USVI above with respect to tax comity. If this Court reaches the issue, it should

treat the USVI as it would a State for purposes of an ONMCE analysis.

      Based on that appropriately drawn conclusion, the court should hold that the

rationale outlined in Mendoza for not applying ONMCE against the federal

government is equally applicable to the USVI. Here, the issues for which Appellants

seek to apply ONMCE directly implicate the second rationale of Mendoza’s near per

se rule, namely: avoiding premature estoppel. In Reefco, the refund at stake totaled

only $5,287.74. Reefco, 2018 U.S. Dist. LEXIS 199507 at *4-5. In contrast, the

refund amount claimed by Appellants here totals approximately $1,510,292.00, not

including interest. App. Br. at 4, n. 1. Given the significantly different stakes and

the unsettled nature of ONMCE’s applicability to the USVI, it would be patently

unfair to bar the USVI from reasserting tax comity and defending itself against

Appellants’ constitutional claims based on the non-precedential opinions in Reefco.

Parklane Hosiery Co., 439 U.S. at 331. Moreover, Appellants could have easily

joined in the earlier action, but deliberately elected to take a “wait and see” approach

to the “test case” Reefco litigation. Id.; App. Br. at 18.

      Appellants point out that the Third Circuit has never applied Mendoza to state

governments in general or to the USVI, but they do not suggest that it would be


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inappropriate to do so. App. Br. at 38-39 (“[T]his Court has cited to Mendoza only

eight times and has never held that estoppel does not apply to state government in

general, nor the GVI in particular.”). Instead, they cite to AMTRAK, 288 F.3d at

530-531, to show this Court has previously applied collateral estoppel against a state

regulatory body. App. Br. at 38-39. But AMTRAK was a case of “offensive mutual

estoppel,” which did not require the court to consider the major policy concerns

outlined in Mendoza. AMTRAK, 288 F.3d at 525 (emphasis added). In fact, the court

in AMTRAK explicitly stated that the application of ONMCE in that case would have

presented “a materially different issue” and counseled against applying ONMCE to

state government when doing so would “impede the development of the law.” Id. at

530-31 (“Moreover, foreclosing the PUC from relitigating its Eleventh Amendment

immunity issue with Amtrak will not impede the development of the law because

the PUC will remain free to relitigate that issue with anyone else who hauls it into

federal court.”). Under these circumstances, the court should hold that Mendoza is

equally applicable to the USVI and reject applying ONMCE here pursuant to the

premature estoppel rationale.



      B. Assuming arguendo that this Court decides to treat the USVI as a
         federal entity, it should still reject ONMCE’s application here
         pursuant to Mendoza.

      Should this Court deviate from its recent jurisprudence and opt to treat the

courts and litigants of the USVI as if the territory were a unified entity with the
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federal government, Mendoza is nonetheless controlling and ONMCE can only be

applied if neither of the major policy concerns outlined therein are implicated.

Consequently, for the same reasons expressed above, this Court should still reject

ONMCE’s application based on the premature estoppel rationale outlined in

Mendoza. To reiterate, the stakes involved in the two cases are markedly different.

Barring the USVI from raising tax comity or defending itself against Appellants’

constitutional claims based on the non-precedential opinions in Reefco pursuant to

the unsettled ONMCE doctrine would be patently unfair. Appellants would not be

prejudiced by being required to fully litigate these issues. Therefore, should this

Court hold that the USVI is a unified entity with the federal government for purpose

of an ONMCE analysis, it should still reject ONMCE’s application against the

USVI.




      C. The ONMCE doctrine’s prerequisites are not satisfied.


      ONMCE’s application in these cases is inappropriate in any event. Should

this Court decide not to reject ONCME’s application pursuant to Mendoza, it should

still deny Appellants requests for ONMCE here. Not only have the doctrine’s

prerequisite not been satisfied, but also Appellants could have easily joined the

Reefco action. See Parklane Hosiery Co., 439 U.S. at 331. Appellants argued below

that the USVI should be precluded from raising tax comity or defending itself against

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Appellants’ constitutional claims based on Reefco. See, e.g., SApdx-081-084, n. 2.

Appellants’ argument lacks merit though, as neither of these issues were actually

decided in Reefco. In fact, the phrase “tax comity” was not mentioned once in either

Reefco opinion. If neither the District Court nor the Third Circuit mentioned it—

even in passing—then it cannot be said that the issue was actually decided such that

the USVI should be precluded from ever raising it again.

      Further, neither tax comity nor the constitutionality of Section 42 as applied

to these Appellants was essential to any valid, final judgment. Reefco only decided

the constitutionality of Section 42’s prior enforcement as it applied to that plaintiff

and tax comity played no role in that judgment. The injunction ordered in Reefco

may have provided prospective relief against unconstitutional assessments for all

future excise taxpayers, but those non-precedential opinions cannot be understood

as a blank check for any and all retrospective refund seekers. Each Appellants case

must stand on its own facts, and the USVI must be allowed to challenge those facts,

as well as the application of law to those facts, in its defense. Thus, as more fully

explained below, it cannot be argued that these prerequisites for application of

ONMCE were met.




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           i.   The prerequisites to applying ONMCE against the USVI on the
                issue of tax comity are not satisfied.


      Appellants request application of ONMCE to bar the USVI from raising the

doctrine of tax comity, but that would be inappropriate here, where the second, third,

and fourth prerequisites to its application are lacking. First, tax comity was not

actually litigated in Reefco. Appellants acknowledge as much. App. Br. at 36

(“[W]hen given an opportunity to contest tax comity on appeal to this Court, the

USVI failed to raise it in its opening brief in Reefco II.). Appellants provide no

argument or authority for equating waiver in this context to actual litigation of the

issue. Further, as noted by the District Court here, the court in Reefco did not

determine the issue in its final decision. Apdx-027, n. 8. Since it was not determined

in Reefco I, it could not have been essential to that judgment.

      Resting on mere implication alone, Appellants claim that “the District Court

rejected the USVI’s tax comity argument when it granted in part, and denied in part,

its motion to dismiss in Reefco I.” App. Br. at 36. However, the District Court did

not mention tax comity once, much less address it as a determination essential to its

ultimate holding. Appellants make conclusory statements that the prerequisites to

issue preclusion are satisfied, but they fail to provide a proper analysis. As a proper

application of the test for issue preclusion shows, the doctrine’s prerequisites have

not been satisfied. Therefore, this Court should reject ONMCE’s application to the

issue of tax comity as requested by Appellants.
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           ii.   The prerequisites to applying ONMCE to the USVI on the issue
                 of Appellants’ constitutional claims are not satisfied.


      Separately, Appellants request the application of ONMCE to bar the USVI

from defending itself against their constitutional claims, but that would be

inappropriate here, where none of the four prerequisites to its application are

satisfied. First, the issue sought to be precluded here is not the same as that involved

in Reefco. The opinions in Reefco did not purport to decide the constitutionality of

Section 42’s prior enforcement as applied to every Virgin Islands excise taxpayer

ever. Indeed, the District Court would not have been able to craft such a broad

holding because of the required factual analysis that must accompany any dormant

Commerce Clause claim. Appellants describe the relevant holding as “that the USVI

was administering the excise tax in an unconstitutional manner.” App. Br. at 36. But

their request to apply ONMCE is not limited to that general finding; they want to

use it as a specific finding as to their unproven claims. Appellants do not want to

have to show a similarly situated, non-importing local competitor was advantaged,

as required under General Motors Corp. v. Tracy, 519 U.S. 278 (1997).3 Nor do

Appellants want to have to show that the tax was not passed on to their customers,

as required. See JDS Realty Corp., 852 F.2d at 67.



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 “In absence of actual or prospective competition between the supposedly favored
and disfavored entities in a single market there can be no local preference, whether
by express discrimination against interstate commerce or undue burden upon it, to
which the dormant Commerce Clause may apply.” General Motors, 519 U.S. at 299.
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      The USVI made this argument below in the context of Appellants’ failure to

sufficiently plead injury. At the hearing before the Magistrate Judge, the USVI

argued that to the extent the Reefco plaintiff was not required to make these

showings, the District Court either improperly assumed those facts or erred in not

requiring proof thereof. Apdx-305. In response, Appellants had no good answers.

They cited generally to Armco, Inc. v. Hardesty, 467 U.S. 638 (1984) as not requiring

any such showings, but that case predated General Motors. Further, that case is

inapposite because the tax at issue there was a gross-receipts tax on all sales of

tangible property in the State, and it was facially discriminatory. Armco, 467 U.S. at

640-41. Unlike here, the discrimination was patent in Armco. Appellants only other

argument on the point, ironically, was that 33 V.I.C. § 1692 did not explicitly list

those showings as necessary. Apdx-307. Appropriately, characterizing Appellants’

request for ONMCE as an attempted “slam dunk,” the Magistrate Judge correctly

disregarded it as improper at the motion to dismiss stage. Apdx-311-13.

      For similar reasons, the second, third, and fourth prerequisites to ONMCE

were also not satisfied. The constitutionality of Section 42’s prior enforcement

against these Appellants was never actually litigated or determined in Reefco. And

since no such determinations were made in Reefco, they could not have been

essential to those judgments. The USVI agrees that Reefco found Section 42 had

been enforced unconstitutionally as to that plaintiff, even though it laments that the

Reefco plaintiff was not required to satisfy the requirements of General Motors or
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JDS. Applying the non-precedential holdings in Reefco as requested by Appellants

would effectively relieve them from having to prove the necessary elements of their

claims. Given the care with which courts should apply ONMCE to local government

generally, Appellants’ attempted “slam dunk” should be blocked.

      In sum, (1) this Court should treat the USVI as it would a State for purposes

of ONMCE, hold Mendoza applies to the USVI, and reject ONMCE’s application

here pursuant to Mendoza; (2) should this Court decide to treat the USVI as a federal

entity, it should reject ONMCE’s application here pursuant to Mendoza; and (3)

should this Court decide not to reject ONMCE’s application here pursuant to

Mendoza, it should still deny Appellants’ requests here because the doctrine’s

prerequisites have not been satisfied, and Appellants’ “wait and see” approach

should not be rewarded.




                                  CONCLUSION

      The District Court based its dismissal of Appellants’ local excise tax claims

on a proper analysis of applicable law and reasonable, evidence-based conclusions.

Appellants have failed to show any legal error or abuse of discretion warranting

reversal. Therefore, this Court should affirm the District Court’s decision as a proper

exercise of its discretion and deny this appeal.



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                                          Respectfully submitted,

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                   CERTIFICATE OF BAR MEMBERSHIP
      Pursuant to L.A.R. 28.3(d), I hereby certify that the undersigned is a Virgin
Islands government attorney who is exempt from the Court’s bar admission
requirement.

                                              /s/   Michael R. Francisco
                                              Michael R. Francisco, Esq.




                     CERTIFICATE OF WORD COUNT

      Pursuant to FED. R. APP. P. 32(g)(1), I hereby certify that this brief complies
with the formatting requirements and 13,000-word limit of FED. R. APP. P. 32(a).
The word count for this brief is 11,578 words.

                                              /s/   Michael R. Francisco
                                              Michael R. Francisco, Esq.




                          CERTIFICATE OF SERVICE
      Pursuant to Fed. R. App. P. 25(c) and L.A.R. Misc. 113, I hereby certify that
on March 13, 2023, the undersigned caused a true correct copy of the foregoing to
be e-filed and served via CM/ECF, to Joseph A. DiRuzzo, III, Esq. at
jd@diruzzolaw.com and Michael L. Sheesley, Esq. at michael@sheesley-law.com,
counsel for Appellants.

                                              /s/   Michael R. Francisco
                                              Michael R. Francisco, Esq.
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        CERTIFICATE OF IDENTICAL COMPLIANCE OF BRIEFS
      Pursuant to L.A.R. 31.1(c), I hereby certify that the text of the electronic brief
is identical to the text in the paper copies.

                                                /s/    Michael R. Francisco
                                                Michael R. Francisco, Esq.




                       CERTIFICATE OF VIRUS CHECK
      Pursuant to L.A.R. 31.1(c), I hereby certify that a virus detection program has
been run on the electronic brief and no viruses were detected (Windows Defender
Firewall, Version: 4.18.2201.10).

                                                /s/    Michael R. Francisco




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